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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


BOEHRINGER INGELHEIM
PHARMACEUTICALS, INC.,


              v.                                                            3:23-CV-01103-MPS

UNITED STATES DEPARTMENT
OF HEALTH AND HUMAN SERVICES,
XAVIER BECERRA, CENTERS FOR
MEDICARE AND MEDICAID SERVICES,
CHIQUITA BROOKS-LASURE



                                           JUDGMENT

       This matter came on for consideration on the cross motions for summary judgment before

the Honorable Michael P. Shea, United States District Judge. The Court reviewed all papers filed

in conjunction with the motions for summary judgment and on July 3, 2024, entered a ruling

granting the defendant’s motion, and denying the plaintiff’s motion. It is therefore;

       ORDERED, ADJUDGED, and DECREED that judgment is entered for the defendants,

UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES, XAVIER

BECERRA, CENTERS FOR MEDICARE AND MEDICAID SERVICES, CHIQUITA

BROOKS-LASURE, against the plaintiff, BOEHRINGER INGELHEIM

PHARMACEUTICALS, INC., and the case is closed.

       Dated at Hartford, Connecticut, this 9th day of July 2024.

                                                             DINAH MILTON KINNEY, Clerk

                                                             By:    /s/ Christina Sichanh
                                                                         Deputy Clerk

EOD: 7/9/2024
